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               IN THE UNITED ST ATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        CENTRAL DIVISION

UNITED STATES OF AMERICA                                     PLAINTIFF

v.                      No. 4:17-cr-114-DPM-1

JEREMIAH HOLLIS, SR.
Reg. No. 31309-009                                         DEFENDANT

                                 ORDER
     Hollis renews his motion for immediate release under 18 U.S.C.
§ 3582(c)(l)(A)(i) based on the ongoing COVID-19 pandemic and the

risk it presents to his health. Doc. 160. The Warden of FCI Seagoville
denied Hollis' s compassionate release request; and Hollis has
exhausted his administrative rights to appeal. He therefore can seek
relief from this Court. 18 U.S.C. § 3582(c)(l)(A).
     Hollis is a black man in his forties who has a history of respiratory
illness. He had COVID-19 earlier this year and is worried about the
possibility of reinfection. Hollis has served a bit more than two years
of his five-year sentence. With a reduction for completing the RDAP
program and credit for good behavior, he will complete his sentence in
January 2022; and he expects to be released to a halfway house in
April 2021 .
     The Court commends Hollis for redeeming his time while in
prison and for all the good progress he's made.          But the Court is
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concerned that releasing Hollis to home detention rather than waiting
a few months for his halfway-house placement might derail that
progress. Further, reducing his sentence by another three and a half
months would not promote respect for the law, provide just
punishment, reflect the seriousness of his offense, or adequately deter
him and others.       All material things considered, the statute's
remedy- reducing Hollis' s sentence to time served- is not appropriate
in this case.   18 U.S.C. §§ 3582(c)(l)(A)(i) & 3553(a).        His motion,
Doc. 160, is therefore denied.
     So Ordered.

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                                        D .P. Marshall Jr.
                                        United States District Judge




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